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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW YORK, et al.,


                    Plaintiffs,

        v.                                          Civil Docket No. 20-cv-2340 (EGS)

 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,


                    Defendants.


             DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56, Defendants hereby cross-move for

summary judgment with respect to all three claims for relief in Plaintiffs’ complaint in this action.

In support of this motion, Defendants rely on the accompanying memorandum of law, their Local

Rule 7(h)(1) statement of material facts, the exhibits and declarations attached to this motion, the

pleadings and papers on file in this action, and any argument and evidence that is presented on the

hearing of this motion.



Dated: October 26, 2020              Respectfully submitted,

                                     JEFFREY BOSSERT CLARK
                                     Acting Assistant Attorney General

                                     ERIC R. WOMACK
                                     Assistant Director, Federal Programs Branch

                                     /s/ John Robinson_____
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